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UN|TED STATES DlSTR|CT COURT

 

DlSTRICT OF CONNECT!CUT
LOR| CURRY CiVlL ACT¥ON
Plaintiff
COMPLAINT
v.
JURY TRIAL
CLA!MED

PORTFOLiO RECOVERY ASSOC!ATES, LLC
Deferidant

AUGUST 26, 2009

 

CON|PLA|NT
l. iNTRODUCTlON
t. 'i`his is a suit brought by a consumer Who has been harassed and abused by
the Defendant coiiection agency. 'i'his action is for violations of the Fair Debt Collection
Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and the Creditor Col|ection Practices
Act (“CCPA”), Conn. Gen. Stat. § 363-645 etseq., and for intentional infliction of
emotional distress
ii. PARTIES
2. The plaintiff, Lori Curry, is a natural person residing in Groton, Connecticut.
3. The defendantl Portfo|io Recovery Associates, LLC (“Portfolio"), is a limited
iiabiiity company located in Virginia that is in the business of purchasing and collecting

debts

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lii. JURISDiCTiON

4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), Fed. R.
Civ. P. tS(a), and 28 U.S.C. § 1367.

5. This Court has jurisdiction over Portfoiio because it engages in debt collection
activities Within Connecticut.

6. Venue in this Court is proper, as the Plaintiff is a resident of Connecticut and
the acts complained of occurred in this state.

lV. FACTUAL ALLEGAT|ON§

7. Plaintiff had accounts With VVai-Mart and Capital One, and the debts
associated With those accounts Wei'e subsequently purchased by Portfolio.

8. On or around Aprii 9, 2009, a Portfolio representative teiephoned the
residence ot Plaintiff’s daughter and son-in-law and spoke With P|aintist son-in-iaw.

9. Piaintiff Was not iiving and never had lived at her daughter’s and son-in-lavv‘s
residence to Which the cail was placedl

10. During that conversation, the Portfolio representative asked to speak With
Plaintiff, and P|aintitf’s son~in-law responded that Plaintiff did not live at his residence,
and he asked what they Were calling about and how they got his phone number.

‘i1.The Portfolio representative replied that she Was cailing about a personal
business matter, and she said that P|aintiff had given Por'tfoiio his number.

12. Plaintiff’s son~in-law found it unlikely that Plaintiff wouid have given Portfolio
the number that they had caiied, since he had only recently opened that telephone line,

and he had opened it mainly for the purpose of internet access

 

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13. Plaintiff’s son-in-law gave the Portfoiio representative Plaintiff’s home phone
number, and he asked Portfoiio not to caii his residence anymore.

14.That same day, Plaintitt`s son-in-faw ca|ied Plaintiff and gave her the number
the Portfoiio representative had given him, and Piaintitf cailed that number soon
afterwards and spoke to a Portfotio representative named “Danielle” and an additional
Portiolio representative named “iVis. Flowers.l’

15. During those conversationsl Piaintifi asked said representatives why Portfolio
was ceiling the residence of her son-in-law and daughter, and she demanded that
Portfolio cease contacting their residence regarding her VVal-l\/lart and Capitai One
account

iG.Approximately three weeks later, a Portfoiio representative called the
residence of Plaintiff’s son-in-iaw and daughter -- the same number that it had called
before -- and a Portfolio representative spoke with Piaintii'f’s son-in-iaw.

17. During that conversation, Plaintifi’s son-in-law toid the representative that
Plaintiff did not iive at his residenoe, and he asked how Portfoiio had gotten his phone
number

18.'i'he Portfolio representative told him that Piaintifi had given Portfoiio his
phone number

19. Ptaintiff’s son-in-law told that representative that Plaintitf did not iive at his
residence, and he hung up.

20. Plaintiff was humiliated by the fact Portfolio had placed phone calls to the
residence of her son-in-law and daughter and had spoken with her son-in-law, and as a

result of those calls, F’laintiff had to explain to her son-in»|aw and her daughter that she

 

 

 

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had financial troubles and would be fiiing for bankruptcy, which in turn caused Plaintift
considerable emotional distress
V. COUNT ONE
Fair Debt Coliection Practices Act
21 . Plaintiff incorporates Paragraphs 1-20.
22.Portfolio vioiated the FDCPA, including the following respects
a. Portfolio violated 15 U.S.C. § ‘i692c(b) by contacting third parties
Without having Plaintitf’s permission to do so;
b. Portfolio violated 15 U.S.C. § 1692e(10) by falsely representing that
Piaintiff had given it the teiephone number of Plaintift’s son-in~|aw;
c. Portfolio violated 15 U.S.C. § 1692d by engaging in conduct as
described above, the consequence of Which was to harass,
oppress, or abuse the plaintii'f; and
d. Portfolio violated 15 U.S.C. § 1692f by using unfair or
unconscionable means to co|iect the debt as described above
23. For Portfoiio’s violations of the Fair Debt Collection Practices Act as
described above, the Plaintiff is entitled to recover her actual damages (including
emotionai distress related damages), statutory damages of $1,000, and reasonable

attorney’s fees, pursuant to 15 U.S.C. § 1692k.

Vi. COUNT TWO
Creditor Coifection Practices Act

24. Plaintiff incorporates Paragraphs 1-20.

 

 

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25. Portfolio violated the CCPA and the regulations promulgated thereunder by
the Connecticut Department of Banking, as foliows:

a. Portfolio vioiated Conn. Agencies Reg.§ 36a~647-3(b) by contacting third
parties without having P|aintiff’s permission to do so;

b. Portfolio violated Conn. Agencies Reg.§ 36a-647-6 by falsely representing
that Plaintifi had given it the telephone number of Plaintift’s son~iri-|aw;
and

c. Portfolio violated Conn. Agencies Reg.§ 36a-647~5 by engaging in
conduct as described above, the consequence of which was to harass
oppress, or abuse the plaintiff

26_ For Portfo|io’s violations of the Creditor Coliection Practices Act as described
above, the Plaintitf is entitled to recover her actual damages (including emotional
distress related damages), statutory damages of$1,000, and reasonabie attorney’s
fees pursuant to Public Act No. 07-176.

Vll. COUNT THREE
intentional infliction of Emotional Distress

27. Piaintitf incorporates Paragraphs 1-20.

28. Porl'tolio knew, or reasonably should have known, that its conduct would likely
cause emotionai distress to Plaintii'f.

29. Portfoiio’s conduct did cause Piaintitf to suffer emotionai distress,
embarrassment, shame, stress and anxiety.

30. Porlfo|io’s actions were wiilful, wanton and malicious in that it intended to
cause Plaintiff’s distress to induce plaintiff to pay the debt, in hopes that plaintiff would

pay in order to reiieve the stress

 

 

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WHEREFORE, the Plaintitf prays for the foilowing relief:

Actual damages (includirig emotionai distress damages), statutory damages and
attorney’s fees and costs pursuant to 15 U.S.C. § 1692k and Public Act No. 07-176; and
such other relief as this Court deems appropriate

PLAlNT|FF, LORl CURRY

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